                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                          Plaintiff,
      v.                                            Case No. 97-CR-0098

KEVIN P. O’NEILL,

                          Defendant.


                            CERTIFICATE OF SERVICE


        I hereby certify that on March 28, 2024, I electronically filed Government’s
Supplemental Authority with the Clerk of the Court using the ECF system and I hereby
certify that I have mailed a copy of the document submitted to the Court to:

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